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                                                                                  CIRCUIT COURI OF
                IN THE CIRCUIT COURT OF COOK COUNTY, LLI foBtisuJIlYsILUNors
                      COUNTY DEPARTMENT, LAW DIVISI      CLERK DOROTHY BROWN

PATRICK DODD, an individual,

       Plaintif,
                                                   Case No.

                                                   ruRY TRIAL DEMANDED
GREYHOI-IND LINES, [NC., a Texas
corporation, and FIRSTGROUP AMERICA,
I^tiC., a Delaware corporation,

       Defendonts.


                      COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, Patrick Dodd, through his lawyers Edelson PC, brings this Complaint against

Defendants Greyhound Lines, Inc. ("Greyhound") and Firstgroup America, Inc. ("FirstGroup"),

based upon Defendants' misconduct and negligence that resulted in threats against Plaintiff       s


life, compromise of Plaintiffs physical and emotional well-being, and unlawful detention,

alleges as follows:

                                   NATURE OF THE ACTION

        l.     On January 12, 2018, Dodd boarded a Greyhound bus in Colorado intending to

an-ive in Atlanta for trucking school. Unbeknownst to Dodd, a series of errors by Defendants

placed him in grave danger and sent him down a harrowing path that resulted in threats to his   life

and him eventually placed in handcuffs for hours.

       2.      Dodd's experiences all stemmed from Defendants knowingly allowing Margarito

Vargas-Rosas ("Vargas-Rosas") to board Dodd's bus, a passenger visibly under the influencb       of

drugs and who actively fought with Greyhound security guards at the Milwaukee station.

       3.      Ahnost immediately upon departure, Vargas-Rosas targeted Dodd and began

threatening his life and hurling racially charged insults directly at him.        EXHIBIT
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                  4.       For over the forty-five minutes, Dodd and others attempted to equally stop both

         Vargas-Rosas and the Greyhound bus. Neither effort succeeded. Even though Dodd and others

         contacted the police, who appeared around the bus in force     within minutes, the Greyhound driver

         refused to stop. Likewise, the bus passengers begged the driver to pull over to no avail.

                  5.       Instead, Defendants left Dodd to fend for himself. Seeing this lack of action, and

         in   response   to Vargas-Rosas creating a racially hostile situation only focused on Dodd, other

         passengers heroically attempted      to intervene and protect him. Trapped on the fast-moving bus,

         Dodd believed Vargas-Rosas' repeated statements that he had a gun which he could brandish and

         use at any minute.

                  6.       The bus finally stopped for law enforcement only after the Greyhound driver
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         drove through two separate spike strips, one placed by Wisconsin police and one on the other
ir-S&
f,Is:    side of the border by   Illinois police.
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4o$O              7.       Thereafter, police forcefully removed Dodd from the bus, handcuffed him, and
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HN       placed him in a police car for two hours.
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                  8.       As if these events were not enough, Defendants placed Dodd in danger again by

         ordering him back on the now completely disabled bus (which had several blown tires) and

         driving to a new location for transfer.

                  9.       Defendants both created and failed to stop a series events which put Dodd in

         mortal danger and inflicted significant personal harm on him.

                                                           PARTIES

                  10.      PlaintiffPatrick Dodd is a natural person and citizen of the State of Tennessee.
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                I   l.   Defendant Greyhound Lines, Inc. is organized and exists under the laws of the

         State of Texas,   with its principal place of business located at 350 North St. Paul Street, Dallas,

         Texas 75201. Greyhound is registered in Illinois to conduct business as a foreign corporation..

                 12.     Defendant FirstGroup America, Inc. is organized and exists under the laws of the

         State of Delaware, with its principal ptace of birsiness located at 600 Vine Street, Cincinnati,

         Ohio 45202. FirstGroup is registered in Illinois to conduct business as a foreign corporation.

                 13.     Greyhound is responsible for the acts and omissions of its employees committed

         within the scope of their employment and while on duty.

                 14.     FirstGroup, as the owner of Greyhound, is responsible for Greyhound's corporate

         policies and procedures, and for ensuring Greyhound abides by its policies and procedures to
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iz,      ensure the safety   ofall   passengers.
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                         Greyhound and FirstGroup, as a common carrier in lllinois, owe the highest duty

z=i3     of care to protect the safety and welfare of their passengers.
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HN                                                 JURISDICTION AND VENUE
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tI)
                 16.     This Court has jurisdiction over Defendants pursuant to'735 ILCS              512-209


         because Defendants conduct business transactions in     Illinois, committed tortious acts in lllinois,

         and are registered to do business in lllinors.

                 17.     This Court has personal jurisdiction over Defendants because they conduct

         significant business in this County, Plaintiff boarded Defendants' bus intended to arrive in this

         County, and a portion        of the unlawful   conduct alleged   in this Complaint occurred in    anil

         emanated from this County.

                 18.     Venue is proper in Cook County,Illinois because Defendants maintain offrces and

         an official presence in Cook County, and conducts business in Cook County. Venue is also
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              proper in Cook County because a portion of Defendants' action giving rise to the allegations in

              this Complaint todk place in Cook County.

                                          COMMON FACTUAL ALLEGATIONS

                      19.      Greyhound   is one of the most-recognizable    transportation companies     in   the

              United States, and serves as the only national operator of scheduled intercity coach transportation

              services in the United States and Canada.

                      20.      FirstGroup owns Greyhound, and specializes'         in   providing transportation

              services-including bus operations-throughout North America.

                     21.       Greyhound generates in excess of $5 billion in annual revenue by tansporting
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I         I nearly   18   million passengers through the United States and Canada each year and operates a fleet
;troI     I
;   i>    I of approximately     1,600 vehicles throughout 4,000 destinations in the United States and Canada.


    : IEg I          22.      Yet, even with their size and experience, Defendants are well aware of prior

                          involving unruly passengers and other circumstances that substantially threaten the
    EH** lt*,r.rts
    Eo
    trl   I safety ofotherpassengers and/or      the bus driver.

,,I       I          23.      On January 23,2014, an individual named Maquel Donyel Morris attacked the
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 =:::/        driver of a Greyhound bus on a trip from Los Angeles, California to Phoenix, Arizona. While

              suspected   of being under the influence of illegal drugs, Morris kicked down the partition

              separating'the driver from the passengers, and caused the driver to crash the bus. The accident

              injured twenty-six passengers who had to receive some sort of treatnent from local hospitals.

                     24.      Likewise, on October g,2013,a Greyhound bus driver allegedly fell asleep at the

              wheel during a trip from New York to Cleveland and crashed the bus into the back of a tractor-

              trailer. Some of the injuries sustained in this crash were severe, including an opera singer who

              shattered vertebrae   in her neck that seriously diminished her ability to sing. A     subsequent
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        investigation revealed Greyhound failed to enforce its own Rule G-40, which requires drivers to

        stop approximately every 150 miles to check the bus for safety and to refresh the driver.

                25.    Defendants' failure to monitor its passengers, both before boarding and on the

        bus, as well as its failure to properly fiain and control its drivers, put Plaintiff in exteme danger

        and caused significant personal harm.

               I.      Dodd Boards a Greyhound Bus in Milwaukee Bound for Chicago

                26.    On January 12,2018, Dodd began his travels in Colorado destined for Atlanta,

        Georgia   to begin training for a commercial driver's license through C.R. England, Inc.-a

        trucking company with driving schools throughout the county.

               27.      Dodd's ticket provided for a brief stop and bus change in Milwaukee, Wisconsin,
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Irl
#>      with an expected departure to Chicago, Illinois at 8:00pm local time.
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iEE:           28.     Prior to embarking from Colorado, Greyhound did not inspect, search, or scan

UEJE    Dodd's luggage, whether carry-on or checked baggage. Similarly, Greyhound did not inspect,
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HN      search, or scan Dodd's luggage prior to leaving the Milwaukee station.
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               Zg.     On information and belief, Greyhound did not inspect, search, or scan the luggage

        of any passenger prior to boarding the bus at the Milwaukee station.

               30.     Upon arrival in Milwaukee for a rest stop and to change buses, Dodd saw several

        Greyhound security personnel in a loud verbal confrontation with a person unknown to Dodd.

        Later, Dodd learned the individual engaging in the dispute with Greyhound security personnel at

        the Milwaukee station was Vargas-Rosas, who appeared to be under the inJluence.

               31.     Despite the confrontation between Vargas-Rosas and Greyhound security, and his

        obvious state of intoxication, Greyhound personnel did not call the local police to address the

        incident or ensure Vargas-Rosas was not a threat to himself and others.
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           32.    Instead, Greyhound personnel directed Vargas-Rosas                to   board   the bus in

Milwaukee bound for Chicago, on which Dodd was a passenger.

           33.    Upon.boarding, Vargas-Rosas sat near Dodd's seat towards the rear of the bus.

     II.       Vargas-Rosas Poses a Danger to Himself and Dodd by Threatening Violence

           34.    Shortly after leaving the Milwaukee station, Vargas-Rosas began acting

enatically on the bus, including but not limited to tlreating other passengers, telling passengers

he was going to start   killing people, and using racial epithets. Vargas-Rosas repeatedly stated         he


had a gun.

           35.    Dodd was the primary target of Vargas-Rosas' threats and unsettling behavior.

 "         36.    In response to Vargas-Rosas' extreme behavior, and Defendants'inaction, other

brave passengers placed themselves at risk by attempting to intervene. At least one passenger

stepped in between Dodd and Vargas-Rosas to physically shield Dodd from Vargas-Rosas's

threats. Nevertheless, their efforts to curtail Vargas-Rosas' threatening behavior proved

ineffective.

           37.    Vargas-Rosas continued with his menacing conduct and threats to other

passengers as the bus continued along the route.

           38.    Fearing for his life, Dodd called his father to tell him about Vargas-Rosas'

threats. Dodd's father called   9l l, and told Dodd to call9l I   as   well.

           39.    Dodd called 9l   I   and explained that a passenger on the Greyhound bus was

making violent th,reats against him and other passengers, and said the passenger claimed to be

armed with a gun.      At least one other   passenger also called 9l       I   to inform authorities of   the

emergent situation.
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                 40.    Within   *inu,.,   of Dodd's 9l   I call, Wisconsin law enforcement       personnel began

        following behind and along the side of the Greyhound bus with lights flashing and sirens blaring.

                41.     As they had been since the incident started, several passengers on the                bus

        continued to yell at the Greyhound bus driver to pull over dug to the ongoing chaos caused by

        Vargas-Rosas' tlueats and now the surrounding lights and sirens from law enforcement vehicles.

            IU.     Defendants' Bris Driver Ignores the Increasingly Serious Situation

                42.     Despite the police presence around the bus and the increasingly desperate requests

        from passengers, the Greyhound bus driver did not pull the vehicle over and continued driving

        down Interstate-94 from Wisconsin into Illinois

                43.     During this time, Dodd stayed on the phone with 9l        I   and continued    to inform
trl
  z
l':-    them of the escalating dangerous situation on the bus.
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                44.     Seeing that the bus failed to stop in the fac'e of an overwhelming police presence,
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E=:b    Wisconsin law enforcement personnel laid down a spike strip across the highway to damage the
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HN      bus tires to get the vehicle to stop.
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t!
                45.     The Greyhound bus driver, however, drove through the spike strip and continued

        travelling down the highway notwithstanding the tire damage. As would be expected, the bus

        began to fishtail and felt out   ofcontrol to passengers on board.

                46.     Vargas-Rosas only increased the urgent nature        of the situation by appearing to

        pull an unknown object from his waistband.

               47.      [n a panic, Dodd ducked between and underneath the            seats out   of fear Vargas-

        Rosas held a weapon and was about to       kill him. As a result of this extreme moment of fear, Dodd

        experienced a panic attack.
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              48.      While continuing to follow the bus with lights and sirens, police repeatedly tried

       directing the bus to pull over to the side of the road. Heroic passengers on the bus also continued

       yelling at the Greyhound bus driver to pull over due to Vargas-Rosas' ongoing threats, the police

       presence, and the now out   ofcontrol   bus.

               49.     The Greyhound bus driver completely ignored law enforcement in the            area,


       ignored the demands from passengers, and ignored the rapidly deteriorating situation on his bus.

               50.     After crossing the border into Illinois, police officers used a second spike ship

       across the highway due      to the Greyhound bus driver's continued failure to pull over in     the

       piesence oflaw enforcement or to heed requests from passengers.

              51.      The second spike strip caused additional damage to the Greyhound bus.
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sl
#=             52.     Inexplicably, however, the Greyhound bus driver continued driving and did not
IXE;   pull over even after the second spike strip caused substantial damage to the rear tires. At this
iEss
z=iE   stage, the bus rode on several   mekl rims and was further out of control.
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          IV.     The Greyhound Bus Driver Finally Pulls Over to Allow Police to Investigate
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              53.      Around this time, Greyhound personnel called the driver and advised him of the

       very obvious fact that law enforcement needed him to pull over. Only at that point did the driver'

       pull the vehicle over.

               54.    Once the bus finally pulled over, the entire section of Interstate-94 was shut down

       by law enforcement, including traffic going in both directions.

              55.     Approximately 40 minutes passed between the time a reasonable person in the

       position of the Greyhound bus driver should have pulled the vehicle over and the time the

       Greyhound bus actually came to a complete stop.
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                  ,U.    Police boarded the Greyhound bus, guns drawn, and began pulling passengers        off

          one at a time. Each passenger was handcuffed and put in the back of police vehicles while law

          enforcement removed all passengers.

                  57.    As the last passenger removed from the Greyhound bus, police handcuffed and

          subsequently arrested Vargas-Rosas.

                  58.     Police required Dodd, along with the other passengers, to remain in the back of

          police vehicles while law enforcement investigated.

             V.      Remarkably, Defendants Order Passengers Back Onto the Damaged Bus

                  59.    At approximately 2:00am, law enforcement released the remaining passengers.

                  60.    However, Defendants ordered the passengers back onto the same bus that suffered
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          substantial tire damage following encounters with t'wo police spike strips.
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                  61.    Exacerbating the stress of the experience and putting Dodd in further danger,
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4 aar9    Defendants drove the damaged bus along the highway to an exit where a different Greyhound
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HN        bus awaited the passengers in a large parking lot.
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trl
                  62. At approximately 3:45am-nearly seven hours after the Greyhound                 bus   was


          scheduled to depart   Milwaukee-Dodd and the other passengers arrived in Chicago

                  63.    Since the tenifoing incident, Dodd has touble sleeping, emotional distress, and

          other psychological challenge's as a result of this tenifuing experience.

                                                       COUNT     I
                                                       Negligence

                  64.    The foregoing allegations are incorporated by reference as if fully set forth herein.
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                       65.     As a passenger aboard Defendants' commercial bus, Defendants had a duty to

               provide the highest degree of care for Dodd consistent with the type of vehicle used in the

               practical operation of Defendants' business.

                       66.     Defendants' duty to provide the highest degree of care for Dodd included taking

               reasonable steps to provide safe travel for passengers, including safety measures    for   luggage

               inspection.

                       67.     Under Illinois law, Defendants' duty owed      to Dodd also    ixtended    to   acts


               committed by Defendants' employees, other passengers, and strangers.


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                       68.     Prior to boarding Dodd's bus at the Milwaukee station, Greyhound security
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               personnel fought with Vargas-Rosas during a loud and alarming altercation.
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, iz                   69.     Accordingly, Defendants knew or reasonably should have known from facts and
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:    i=Et      crcumstances available to them that Vargas-Rosas posed a danger to others and was under the
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1 *OQr-t       influence of illicit drugs.
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                       70.     Defendants had a duty to exercise the highest degree of care to protect Dodd from
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               assault, injury, or abuse.
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                       71.     Defendants breached their duty to Dodd when they failed to protect Dodd from

               assault, injury or abuse at the hands of Vargas-Rosas.

                       72.     Defendants breached their duty    to Dodd by allowing Vargas-Rosas to        board

               Dodd's bus.

                       73.     Defendants breached their duty to Dodd by failing to stop the bus when it becamb

               apparent that Vargas-Rosas was threatening Dodd and other passengers

                       74.     Defendants breached their duty to Dodd by failing to stop the bus when it became

               apparent law enforcement was in pursuit and requesting the bus pull over.
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                    75.    Defendants breached their duty to Dodd by failing to inspect, search, or scan

            Vargas-Rosas' luggage before allowing him to board the bus.

                   76.     Defendants breached their duty to Dodd by failing to develop, implement, or

            execute reasonable luggage inspection procedures designed to provide safe travel for passengers.

                   77.     Defendants' breach      of their duty to Dodd proximately     caused Dodd   to   suffer

            injury in the form of emotional distress and an imminent fear of being killed or seriously injured.

                    78.    As such, Defendants are liable for the damages Dodd sustained as a result of his

            injuries from the incident.

                                                          COUNT    II
                                          Intentional Infliction of Emotional Distress

                    79.    The foregoing allegations are incorporated by reference as if fully set forth herein.
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o NI o             80.     Defendants' conduct in the operation of their bus, and treatment of Dodd, was
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            extreme and outrageous, including but not limited to the following ways:
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N                          a.   Failing to check luggage before passengers board the bus;

                           b.   Allowing Vargas-Rosas to board the bus after fighting with Greyhound

                                security personnel;

                           c.   Allowing Vargas-Rosas to board the bus despite being under the         apparent

                                influence of illicit drugs;

                           d.   Failing to take steps to curtail Vargas-Rosas' threatening behavior;

                           e.   Failing to stop the bus after passengers alerted the driver to Vargas-Rosas'

                                threatening behavior;

                           f.   Failing to stop the bus once other passengers, including Dodd, demanded the

                                driver pull over to curtail Vargas-Rosas' threatening behavior;
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                        g.   Failing to stop the bus once the driver observed law enforcement pursuing the

                             bus and noticeably requesting   it stop;

                        h.   Failing to stop the bus once law enforcement laid the frst set of spike strips

                             across the highway;

                        i.   Failing to stop the bus once law enforcement laid the second set of spike strips

                             across the highway;

                        j.   Failing to take reasonable action before, during, and after Defendants became

                             aware of the threat Vargas-Rosas posed to Dodd and other passengers.

                 81.    Defendants' actions described above were extreme and outrageous under any

         objective or subjective standard.
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#>               82.    Any person of ordinary sensibilities would have suffered emotional distress under
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IxNot
ilEt     the same or similar circumstances experienced by Dodd as described above.
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aO@r.i           83.    Defendants' extreme and outageous actions described above went beyond all
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         possible bounds of decency.
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                 84.    Based on the foregoing allegations, Defendants intended to cause Dodd emotional

         distress, or recklessly or consciously disregarded the probability of causing Dodd emotional

         distress.

                 85.    Defendants knew or reasonably should have known their failure to take any action

         against Vargas-Rosas, and by allowing him to board the same bus as Dodd, was substantially

         certain to cause emotional distress.

                 86.    Both the intensity and duration of Defendants' action and inaction constitute

         extreme and outrageous conduct.
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                    87.       Dodd suffered severe and extreme emotional distress as a result of the grave

            danger Defendants placed him in during the trip. No reasonable person could be expected to

            endure the trauma Dodd experienced on his bus ride from Colorado to Atlanta.

                    88.       Defendants could have, but did not, take action that would have prevented Dodd

            from suffering suffered severe and extreme emotional dishess.

                    89.       Defendants' conduct actually and proximately caused Dodd's emotional distress.

                    90.       Dodd suffered injury and damages as a result            of   Defendants' extreme and

            outrageous conduct in the form of emotional distress and an imminent fear of being killed or

            seriously injured.

                    gl.       Defendants are liable for the damages Dodd sustained as a result of Defendants'
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i,a         intentional infl iction of emotional distress.
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aOoOrr                                     Negligent Infliction of Emotional Distress
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                    92.   .   The foregoing allegations are incorporated by reference as     if fully set forth herein.
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                    93.       As passenger aboard Defendants' commercial bus, Defendants had a duty to

            provide'the highest degree of care for Dodd consistent with the type of vehicle used in the

            practical operation of Defendants' business.

                    94.       Defendants' breached their duty to Dodd in one or more of the following ways:

                              a.   Failing to check luggage before passengers board the bus;

                              b. Allowing     Vargas-Rosas       to   board the bus after fighting with Greyhound

                                   security personnel;

                              c. Allowing Vargas-Rosas           to board the bus despite being under the    apparent

                                   influence of illicit drugs;
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               d.   Failing to take steps to curtailVargas-Rosas' threatening behavior;

               e.   Failing to stop the bus after passengers alerted the driver to Vargas-Rosas'

                    threatening behavior;

                    Failing to stop the.bus once other passengers, including Dodd, demanded the

                    driver pull over to curtail Vargas-Rosas' threatening behavior;

               o
               E.   Failing to stop the bus once the driver observed law enforcement following

                    the bus with lights and sirens blaring;

               h.   Failing to stop the bus once law enforcement laid the first set of spike strips

                    across the highway;

               t.   Failing to stop the bus bnce law enforcement laid the second set of spike strips

                    across the highway;

                    Failing to take reasonable action before, during, and after Defendants became

                    aware of the threat Vargas-Rosas posed to Dodd.and other passengers

       95.     Any person of ordinary sensibilities would have suffered emotional distress under

the same or similar circumstances experienced by Dodd as described above.

       96.     Dodd was a direct victim of Defendants'breach of their duty of care owed'to

passengers.

       97.     As a direct result of Defendants' conduct described above, Dodd suffered          an

immediate, severe, and extreme emotional response, which continues to the present day.

       98.     Dodd suffered physical injuries as a result of Defendants' conduct described

above in the form of a panic attack.

       99.     No reasonable person could be expected to endure the trauma Dodd experienced.

       100.    Defendants' conduct actually and proximately caused Dodd's emotional distress.
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                         l0l.      Dodd suffered injury and damages as a result of Defendants'negligent infliction

                 of emotional distress in the form of a panic attack and an imminent fear of being killed or

                 seriously injured.

                         102.      Defendants are liable for the damages Dodd sustained as a result of Defendants'

                 negligent infliction of emotional distress.

                                                                 COUNT IV

                                                             False Imprisonment

                         I   03.   The foregoing allegations are incorporated by reference as if fully set forth herein.

                         104.      On January 12,2018, Dodd had a reasonable expectation of safe travel from

                 Milwaukee to Chicago on Defendants' bus within a reasonable period of time.
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#>                       105. As described more fully           above, passengers alerted Defendants' bus driver to
ISna
iEES             Vargas-Rosas' threatening conduct shortly            after leaving the Milwaukee station.          More
     oo   l._.
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*Oat\            specifically, passengers alerted the driver of their desire to stop the bus and get off.
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                         106. After Dodd, Dodd's father, and at least one other passenger          called   9ll regarding
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                 the situation on the bus, passengers demanded Defendants' bus driver pull over to address the

                 problem with Vargas-Rosas and escape from the dangerous situation.

                         107.      Shortly after the 9l   I calls were made, law enforcement   in Wisconsin and Illinois

                 began following the bus with lights and sirens turned on.

                         108.      The police eventually laid down a set of spike strips across the highway in order

                 to get Defendants' bus to pull over. Defendants' bus driver continued driving through the first

                 set of spike strips w.ithout stopping.
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                      109.      Police in Illinois laid a second set of spike stips across the highway in order to

            get Defendants' bus driver to pull over. Defendants' bus driver continued driving through the

            second set of spike strips without stopping.

                      I   10.   The entire ordeal Dodd experienced lasted substantially longer than               any

            reasonable person in his position would expect.

                      II   l.   Immediately upon learning of Vargas-Rosas' threatening conduct, Defendants'

            bus driver should have stopped the bus to investigate the situation and ensure the passengers'

            safety.

                      ll2.      Defendants are responsible for the actions and inaction of the bus driver.

                      ll3.      Because Defendants' bus driver continued driving down Interstate-94 without
trl
#>          regard to demands from Dodd and other passengers to pull over, or the multiple police attempts
I(,o-
lxNot
j-Et        to intervene, Defendants unlawfirlly restrained Dodd and other passengers
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Y oo J.-.
aOol'r                l14.      Throughout the relevant time of this unlawful restraint, Defendants acted without
E$=x
HN          reasonable grounds to continue restraining Dodd's movement.
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                      ll5.      Indeed, Defendants'bus driver should have pulled the bus over so Vargas-Rosas

            could be arrested by law enforcement, at which point Dodd would have been released froin

            Defendants' confi nement.

                      I   16.   Defendants' false imprisonment injured Dodd and caused damages.

                      ll7.      Defendants are liable    to Dodd for the damages sustained during the period

            Defendants falsely imprisoned Dodd.

                                                             COUNT V

                                                         Negligent Hiring

                      II   8.   The foregoing allegations are incorporated by reference as if fully set forth herein.
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       ll9.    On January 72,2018, Defendants owed a duty of care to its passengers when

hiring its bus drivers. These duties include, but are not limited to ensuring hired bus drivers       are


competent and hold appropriate licenses to address issues concerning:

               a.   General safety rules of the road applicable to all drivers;

               b.   Safety procedures specifically applicable to operation of commercial buses;

               c.   Assessing and appropriately responding to emergency situations;

               d.   Appropriate responses to law enforcement while operating a contmercial bus

       120.    Defendants breached their duty of care to its passengers, including Dodd, when

hiring its bus drivers in one or more of the following ways:

               a.   Defendants' bus driver failed to adhere to general safety rules of the road;

               b.   Defendants' bus driver failed     to   adhere   to   safety procedures specifically

                    applicable to the operation of commercial buses;

               c. Defendants' bus driver failed to properly     assess and appropriately respond to

                    an emergency situation;

               d.   Defendants' bus driver failed     to provide an       appropriate response   to   law

                    enforcement on the highway while operating the commercial bus.

       121. Defendants' breached their duty of care to passengers,           including Dodd, by hiring

the driver operating Dodd's bus on January 12,2018. Defendants' bus driver ttiiled to adhere to

general safety rules of the road, failed to adhere to safety procedures applicable to operating a

commercial bus, failed to properly assess and appropriately respond to an emergency situation,

and failed to provide an appropriate response to law enforcement on the highway while operating

the commercialbus.
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          122.   Defendants' breach of their duty described above proximately chused injuries to

Dodd.

          123.   Dodd sustained damages from his injuries as result of Defendants' negligent

hiring of their bus driver in the form of emotional distress and an imminent fear of being killed

or seriously injured.

          lZ4.   Defendants are liable for the damages Dodd sustained as a result of Defendants'

negligence.

                                            COUNT VI

                                Negligent Training and Superrision

          t2s.   The foregoing allegations are incorporated by reference as    if fully set forth
herein.

          126.   On January i2,2018, Defendants owed a duty to its passengers, including Dodd,

to properly train and supervise drivers regarding Defendants' policies and procedures designed to

protect the safety ofall passengers.

          127.   Defendants' duty included the obligation to provide appropriate training and

supervision to ensure bus drivers understood and executed Defendants' policies and procedures

designed to ensure the safety of all passengers, including Dodd.

          l2g.   On January 12,2018, Defendants breached their duty to all passengers, including

Dodd, to ensure bus drivers received appropriate training and supervision in one or more of the

following ways:

                 a.   Allowing Vargas-Rosas to board the bus after fighting with Greyhound

                      security personnel;
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                                 Allowing Vargas-Rosas to board the bus despite being under the apparent

                                 influence of illicit drugs;

                           c.    Failing to take steps to curtail Vargas-Rosas' threatening behavior on the bus;

                           d.    Failing to stop the bus after passengers alerted the driver to Vargas-Rosas'

                                 threatening behavior;

                           e.    Failing to stop the bus once other passengers, including Dodd, demanded the

                                 driver pull over to curtail Vargas-Rosas' threatening behavior;

                                 Failing to stop the bus once the driver observed law enforcement following

                                 the bus with lights and sirens blaring;

                           g.    Failing to stop the bus once law. enforcement laid the frst set of spike strips
o
t!
J                                across the highway;
q.

IJ     r
     F. N c{
       N o                  h.   Failing to stop the bus once law enforcement laid the second set of spike strips
       IJ I
9 .00 trl
zo      (J
           I
                                 across the highway;
o 6l 00
     o
    6 N
    N          d
t)
tt)
    N                       i.   Failing to take reasonable action before, during, and after becoming aware of
J
sl
                                 the threat Vargas-Rosas posed to Dodd and other passengers

                           J.    Failing to adhere to general safety rules of the road;

                            k.   Failing to adhere to safety procedures specifically applicable to operation of.

                                 commercial buses;

                                 Failing   to properly   assess and appropriately respond to       an   emergency

                                 situation;

                            m. Failing to provide    an appropriate response to law enforcement on the highway

                                 while operating the commercial bus.
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                              129.   Dodd sustained damages and injuries as result of Defendants' negligent training

                      and supervision of their bus driver's in the form of emotional distess and an imminent fear          of

                      being killed or seriously injured.

                              130.   Defendants are liable to Dodd for the damages 'sustained as a result           of   their

                      negligent taining and supervision.

                                                                PRAYER FOR RELIEF

                              WHEREFORE, Plaintiff Patrick Dodd, respectfully requests the Court enter an order of

                      judgment in his favor and against Defendants Greyhound Lines, Inc. and FirstGroup America,

                      Inc., and ordering the following relief:

                             A. Finding   Defendants liable on all counts of Plaintiff s Complaint;
a
rll
J                            B. Awarding     monetary damages to Plaintiff in excess of $30,000, in an amount to be
rr E
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          N o                    determined at trial;
Iz €o 8€J oc.lrrl()
                                                        pre- and post-judgment interest, to the ixtent allowable;
            I

 o  N                        C. Awarding Plaintiff
 d @o  N &<
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EI                           D. Awarding suih     other relief as the Court deems just and proper.
J
q.l

                                                                    JURY DEMAND

                              Plaintiff hereby requests    a   trial by juty for all claims that can be so tried.



                      Dated: February 28,2018                                      Respectfu   lly submitted,

                                                                                   Pernrcx Dooo

                                                                                   /s/ Alfred K. Murrav II
                                                                                   Jay Edelson
                                                                                   iedelson@edelson.com
                                                                                   Christopher L. Dore
                                                                                   cdore(Eedelson.com
                                                                                   Alfred K. Murray II
                                                                                   amurrav(Eedelson.com.
                                                                                   EoEusoN PC
                    Case: 1:18-cv-02465 Document #: 3-1 Filed: 04/06/18 Page 21 of 26 PageID #:29




                                                             350 North LaSalle Street, l4th Floor
                                                             Chicago, IL 60654
                                                             Tel: 312.589.6370
                                                             Fax: 312.589.6378
                                                             Firm ID: 62075




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ffi Cf Corporation                                                                              Service of Process
                                                                                                Transmittal
                                                                                                 03t13/2018
                                                                                                CT Log Number 532956537
   To:          Tina Parks
                FirstGroup America, lnc.
                2221 E Lamar Btvd, Suite 500
                Artington, TX 7 6006-7 419

   RE:          Process Served in lllinois
   FoR:         FirstGroup America,   lnc.   (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROGESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE GOIUIPANY AS FOLLOWS:

   rt?r                                      nATOlal/                  nl!,    .,- aDryUnl        !\ln   ! !\!Ce    !\!a      alr     r+f    ElDCTaDnl   lh
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                                             AMERICA, lNC.,      etc., Dfts.
          SERVED:
   DocUMENT(s)                               Summonses, Comptaint, Attachment(s)

   couRT/AGENcY                              Cook County Circuit Court - County Department                         - Law Division, lL
                                             Case # 20181002125

   NATURE oF       AGrtoN:                   Vargas-Rosas Poses a Danger          to Himsetf and Dodd by Threatening Violence
   oN wHoM PRoGESS wAs        SERVED:        CT   Corporation System, Chicago, lL
   DATE AND      HouR oF   SERVIGE:          By Process Server on 031 13/2018             at 1 0:30
   JURlSDtcTloN  SERVED:                     lttinois

   APPEARANCE oR ANSWER DUE!                 Within 30 days after service, not counting the day of service
   aTToRNEY(s) / SENDER(S):                  Atfred K. Murray ll
                                             EDELSON PC
                                             350 North LaSatte Street, 'l4th Floor
                                             Chicago, lL 60654
                                             312-589-6370

   AGTtoN     rrEMS:                         CT has retained the       current [og, Retain Dale:0311412018, Expected Purge Date:
                                             03t 19 t2018

                                             lmage SOP

                                             Emait Notification, Joshua Welker joshua.wetker@firstgroup.com

                                             Emait Notification, Tina Parks tina.parks@firstgroup.com

                                             Emait Notification, Lynette Obregon tynette.obregon@firstgroup.com

                                             Emait Notification, Tina Parks tina.parks@firstgroup.com


   SIGNED:                                   CT   Corporation System
   ADDRESS!                                  208 South LaSatte Street
                                             Suite 814
                                             Chicago, lL 60604
   TELEPHONE:                                317-345-4336




                                                                                                 Page'l     of 1/lP
                                                                                                lnformation disptayed on this transmittat is for CT
                                                                                                Corporation's record keeping purposes onty and is provided to
                                                                                                the recipient for quick reference. This information dos not
                                                                                                constitute a tegal opinion as to the nature of action, the
                                                                                                amount of damages, the answer date, or any information
                                                                                                contained in the documents themsetves. Recipient is
                                                                                                responsibte for interpreting said documents and for taking
                                                                                                appropriate action. Signatures on certified maiI receipts
                                                                                                confirm receipt of package onty, not contents.
        Case: 1:18-cv-02465 Document #: 3-1 Filed: 04/06/18 Page 23 of 26 PageID #:31
Summons - Alias Summons                                                      (tzt3uts)ccc                                            N00l


                                 IN THE CTRCUIT COURT OF COOK COUNTY, ILLINOIS

PATRICK DODD                                                             No. zotg-L-o02t2s
                                                                                  Defendant Address:
GREYHOUND LINES. lNC.: FIRSTGROUP                                                 FTRSTGROUP AMERICA, INC.
AMERICA.INC.                                                                      CTCORP SYSTEM- 208       S.   LASALLE ST.
                                                                                  8r4
                                                                                  cHrcAco, lL 60604




                                           .M summoNs   fl   ALtAs- suMMoNs
To each defendant:.
   YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:
        ERichard J. Daley Center, 50 W. Washington, Room 361                                ,Chicago, I llinois 64602
        DDistrict 2 - Skokie           EDistrict 3 - Rolling Meadows               nDistrict 4 - Maywood
           5600 Old Orchard Rd.          2l2l Euclid 1500                            Maybrook Ave.
           Skokie,|L60077                Rolling  Meadows,   lL 60008                Maywood,    IL 60153
        XDistrict5 -Bridgeview EDistrict6 - Markham                                nRichard J. Daley Center
           10220 S.76thAve.              16501 S. Kedzie Pkwy.                       50 W. Washington, LL.0l
           Bridgeview,   IL 60455        Markham,    lL 60428                        Chicago, lL60602
You must file within 30 days after service of this Simmons, not counting the day of service.

IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAUUT MAY BE ENTERED AGAINST YOU FOR THE
RELIEF REQUESTED IN THE COMPLAINT.

To the officer:
This Summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. lf service cannot be made, this Summons shall be returned so
endorsed. This Summons may not be served later than thi(y (30) days after its date.


M   nry.   No.:5,2675

Name:     EDEL59N   rc
                                                                 DOROTHY BROWN, Clerk               of
AttY.   for:   pArRlcK D6DD
Address: isoN       LASALLE BTH FL
                                                                 Date of Service:
Citylslate/Zip   Code:     cHtcAGo, tL 60654
                                                                 (To be inserted by oflicer on copy left rvith Defendant or other person)
Telephone:       (312)s89-6370

Primary Email Address:       amurray(@edelson.com
                                                                 trService by Facsimile Transmission will be accepted at:
Secondary Email Address(es):


                                                                 (Area   Code)   (Facsimile Telephone Number)




               DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                            Page I of I
Case: 1:18-cv-02465 Document #: 3-1 Filed: 04/06/18 Page 24 of 26 PageID #:32


                                          DIE DATE
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               Case: 1:18-cv-02465 Document #: 3-1 Filed: 04/06/18 Page 25 of 26 PageID #:33
Summons - Alias Summons                                                                                               (tzt3vts) ccc   N00r


                                  IN THE CTRCUIT COURT OF COOK COUNTY,ILLINOIS

PATRICK DODD                                                               No.   20 I   8-L-002125
                                                                                         Defendant Address:
GREYHOUND LINES. INC.: FIRSTGROUP                                                        FIRSTGROUP AMERICA, INC.
AMERICA. INC.                                                                            CTCORP SYSTEM.2OS S. LASALLE ST.
                                                                                         8r4
                                                                                         CHICAGO, IL 60604




                                             M sunnnloNs   n   ALtAs - suMMoNS
To each defendant:
   YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:
        MRichard J. Daley Center, 50 W. Washington, Room 391                                ,Chicago, I llinois 60602
        DDistrict 2 - Skokie            nDistrict 3 - Rolling Meadows              fJDistrict 4 - Maywood
           5600 Old Orchard Rd.            2l2l Euclid 1500                          Maybrook Ave.
           Skokie, lL 60477                Rolling  Meadows,   lL 60008              Maywood, IL 60153
        EDistrict5 -Bridgeview DDistrict6             - Markham                    !Richard J. Daley Center
           10220 S.   76th Ave.            16501   S. Kedzie Pkv*.y.                 50 W. Washington, LL-01
           Bridgeview, lL 60455            Markham, lL60428                          Chicago, lL 60602
You  must  file within 30  days after service of this Summons,   not counting the day of service.

IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE
RELIEF REQUESTED IN THE COMPLAINT.

To the officer:
This Summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so
endorsed. This Summons may not be served later than thirty (30) days after its date.


M   Atty. No.:62s75
Name:     EDELS9N pC
                                                                   DOROTHY BROWN, Clerk of
Atty.   for:   pArRtcK D6DD
Address:       35oN LASALLE   l3rH   FL
                                                                   Date of Service:
CttylStatelZip   Code:     cHtCAco. lL    606s4
                                                                   (To be inserted by ofTicer on copy left with Defendant or other person)
Telephone;       (3t2)s89-6370

Primary Email AddresSl        amunay@edelson.com
                                                                   "service by Facsimile       Transmission rvill be accepted at:
Secondary Email Address(es):


                                                                   (Area   Code)    (Facsimile Telephone Number)




               DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                            Page t ofl
Case: 1:18-cv-02465 Document #: 3-1 Filed: 04/06/18 Page 26 of 26 PageID #:34




                                            DIE DATE
                                           03/21/2018


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